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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
JARRELL W. WALKER, JR.             )            (WO)


                     JUDGMENT OF ACQUITTAL

    It is the ORDER, JUDGMENT, and DECREE of the court

that defendant Jarrell W. Walker, Jr. is not guilty of

all the charges against him.

    It is further ORDERED that defendant Walker is

acquitted and discharged and any bond exonerated.

    DONE, this the 16th day of March, 2012.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
